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        Your affiant submits there is also probable cause to believe that LAWRENCE DROPKIN
JR. violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Gro1ll'.1ds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



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                                                      Colleen Nase, Detective
                                                      New Jersey Office of Homeland Security
                                                      and Preparedness
                                                      FBI, Joint Terrorism Task Force



Attested to by the applicant in accordance with the requirements of F ed. R. Crim. P. 4.1
by telephone, this 14 day of September 2021.
                   Digitally signed by G.
                   Michael Harvey
                   Date: 2021.09.14
                   10:23:46 -04'00'
G. MICHAEL HARVEY
U.S. MAGISTRATE JUDGE




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